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                               Exhibit B
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Law Enforcement Relations
4 Sylvan Way, Parsippany, N.J. 07054
Phone: (973) 292-8911 Fax: (973) 292-8697                                                                                                                   February 10, 2023
_______________________________________________________________________________________________________________________________________________________________________________________

T-Mobile / MetroPCS Tracking ID: 4246380


I, Meredith Thacker, attest, under penalty of perjury under the laws of the United States of America pursuant to 28 U.S.C. Section 1746, that
the information contained in this declaration is true and correct. I am a United States citizen and am over eighteen years of age.
I am employed by T-Mobile US, Inc. (hereinafter, "the Company") as a custodian of records and therefore am qualified as a result
of my position to make this declaration. My official title is Custodian of Records.


I certify that all of the records described below and attached hereto are duplicates of the original and are true and complete copies of
records maintained by the Company. Said records consist of several electronic files produced in T-Mobile US, Inc. Case No.4246380
in response to a lawful request issued to the company.


Description of records:

                   Identifier                                     Start Date                                      End Date                                     Requested Item

        2706                                    01/01/2022                                      01/28/2023                                      Call Details No Cells

        2706                                    01/01/2022                                      01/28/2023                                      Subscriber Info



I further state that:
   A) Such records were made at or near the time of the occurrence of the matters set forth by (or from
      information transmitted by) a person with knowledge of those matters;
   B) Such records were kept in the course of regularly conducted business activity;
   C) The business activity made such records as a regular practice; and
   D) If such record is not the original, such record is a duplicate of the original.


This certification is intended to satisfy Rules 803(6), 902(11), 902(13) and / or 902(14) of the Federal Rules of Evidence and / or any state
equivalents.


I hereby certify that the foregoing statement made by me is true. I understand that if any of the statements made by
me herein are willfully false, I am subject to punishment.

                                                                                                                                 Sincerely




                                                                                                                                 Law Enforcement Relations Group
